               Case 22-11068-JTD            Doc 29187         Filed 01/09/25        Page 1 of 2




                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

In re:                                                         Chapter 11

FTX TRADING LTD., et al., 1                                    Case No. 22-11068 (JTD)

         Debtors.                                              (Jointly Administered)



                         CERTIFICATION OF COUNSEL REGARDING
                         SCHEDULING OF OMNIBUS HEARING DATE

         The undersigned hereby certifies that the omnibus hearing date set forth on the proposed

order attached hereto was obtained from the Court.




                  [REMAINDER OF PAGE INTENTIONALLY LEFT BLANK]




1
    The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification number are 3288 and
    4063 respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of the
    Debtors and the last four digits of their federal tax identification numbers is not provided herein. A complete
    list of such information may be obtained on the website of the Debtors’ claims and noticing agent at
    https://cases.ra.kroll.com/FTX. The principal place of business of Debtor Emergent Fidelity Technologies Ltd
    is Unit 3B, Bryson’s Commercial Complex, Friars Hill Road, St. John’s, Antigua and Barbuda.



{1368.002-W0079264.}
               Case 22-11068-JTD   Doc 29187   Filed 01/09/25   Page 2 of 2




Dated: January 9, 2025                    LANDIS RATH & COBB LLP
       Wilmington, Delaware
                                          /s/ Kimberly A. Brown
                                          Adam G. Landis (No. 3407)
                                          Kimberly A. Brown (No. 5138)
                                          Matthew R. Pierce (No. 5946)
                                          919 Market Street, Suite 1800
                                          Wilmington, Delaware 19801
                                          Telephone: (302) 467-4400
                                          Facsimile: (302) 467-4450
                                          E-mail: landis@lrclaw.com
                                                  brown@lrclaw.com
                                                  pierce@lrclaw.com
                                          -and-
                                          SULLIVAN & CROMWELL LLP
                                          Andrew G. Dietderich (admitted pro hac vice)
                                          James L. Bromley (admitted pro hac vice)
                                          Brian D. Glueckstein (admitted pro hac vice)
                                          Christian P. Jensen (admitted pro hac vice)
                                          125 Broad Street
                                          New York, NY 10004
                                          Telephone: (212) 558-4000
                                          Facsimile: (212) 558-3588
                                          E-mail: dietdericha@sullcrom.com
                                                  bromleyj@sullcrom.com
                                                  gluecksteinb@sullcrom.com
                                                  jensenc@sullcrom.com

                                          Counsel for the Debtors
                                          and Debtors-in-Possession




{1368.002-W0079264.}                      2
